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A 0 2458 (Rev 06/05) Sheet 1 - Judgment in a Criminal Case


                            UNITED STATES DISTRICT COURT
                                                  MIDDLE DISTRICT OF FLORIDA
                                                       TAMPA DMSION



UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL. CASE
                                                               CASE NUMBER: 8:07-cr-151-T-30EAJ
                                                               USM NUMBER: 49428-018
vs.


JERRY AVILA-CIUSANTO
                                                               Defendant's Attorney: Samuel J. Williams, cja.

THE DEFENDANT:

-
X pleaded &ty to countfs) ONE and TWO of the Indictment.
-pleaded nolo contendere to count(s) which was accepted by the court.
-was found guilty on count(s) after a plea of not guilty.

TITLE & SECTION                     NATURE OF OFFENSE                            OFFENSE ENDED

46 U.S.C. 870506(a) and (b)         Conspiracy to Possess W~thIntent to          April 26,2007                       One
and 21 U.S.C. $960@)(1)(B)(ii)      Distribute Five (5) or More Kilograms
                                    of Cocaine While on Board a Vessel
                                    Subject to the Jurisdiction of the
                                    United States

46 U.S.C. $70503(a)(l) and          Possess With Intent to Distribute Five (5)   April 26,2007                       Two
70506(a); 18 U.S.C. $2; and         or More Kilograms of Cocaine While on
21 U.S.C. $960(b)(l)(B)(ii)         Board a Vessel Subject to the Jurisdiction
                                    of the United States

       The defendant is sentencedm provided in pages 2 through 6 of thisjudgment. The sentence is imposedpursuantto the Sentencin,
Reform Act of 1984.

-The defendant has been found not guilty on count(s)
-Count(s) of the Indictment is dismissed on the motion of the United States
IT IS FURTHER ORDERED that the defendant must no* the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in economic
circumstances.

                                                                                 Date of Imposition of Sentence: October 25, 2007




                                                                                 DATE: Ocotber.   /25     2007
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A 0 245B (Rev 06/05) Sheet 2 - Iniprisonment (Judgment in a Criminal Case)
Defendant:          JERRY AVILA-CRISANTO                                                                      Judgment - Page 2of 6
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                                                              IMPRISONMENT

        After considering the advisory sentencing guidelines and all of the factors identified in Title 18 U.S.C. $9
3553(a)(l)-(7), the court finds that the sentence imposed is sufficient, but not greater than necessary, to comply with
the statutory purposes of sentencing.


         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
a total term of EIGHTY-EVEN (87) R?IONTHSon each of Counts One and Two of the Indictment, all such terms to
r u n concurrently.




-The court makes the following recommendations to the Bureau of Prisons:

-
X The defendant is rcmanded to the custody of the United States Marshal.
- The defendant shall surrender to the Unitcd States Marshal for this district.
          - at - a.m./p.m. on -.
          - as notified by the United States Marshal.
- The defendant shall surrender for senricc of sentence at the institution designated by thc Bureau of Prisons.
          -before 2 p.m. on -.
          - as notified by the United States Marshal.
          - as notified by the Probation or Pretrial Senices Office.


                                                                       RETURN
          T have executed this judment as follows:




          Defendant delivered on                                             to
- at                                                                   , with a certif'ied copy of this judment.



                                                                                  United States Marshal

                                                                       By:
                                                                                          Deputy United States Marshal
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A 0 245B (Rev. 06/05) Sheet 3 - Supervised Release (Judgment in a Criminal Case)

Defendant:          JERRY AVILA-CRISANTO                                                                          Judgment - Page 3 of
Case No.:           8:07-cr- 1 5 1-T-30EAJ
                                                          SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a term of FIVE (5) YEARS as to Counts
One and Two of the Indictment, all such terms to run concurrently.

         The defendant must report to the probation office in the district to which the dekndant is released within 72 hours of release from
the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime. The defendant shall not unlawt'ully possess a controlled substance.
The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days
of release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.

         The above drug testing condition is suspended. based on the court's determination that the defendant poses a low risk of hture
         substance abuse.

         The defendant shall not possess a firearm. destructive device, or any other dangerous weapon.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer

           If this judgment imposes a fine or restitution it is a condition of supervised release that the defendant pay in accordance with the
           Schedule of Payments sheet of this judgment.

           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
           conditions on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district without the permission of the court or probation ot'ficcr;

           the defendant shall report to the probation ofticer and shall submit a truthful and coniplete written report within the first five days of each
           monlh;

           thc defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

           the defendant shall support his or her dependents and n u t other family responsibililies;

           the defendant shall work regularly at a lawful occupation, unless excused by the probation ofticcr for schooling, training, or other
           acceptable rcasons;

           the defendant shall notify the probation oflicer at least Len days prior to any change i n residence or employment;

           the defendant shall refrain from excmsivc use of alcohol and shall not purchase, posscss, use, distribute, or administer any controlled
           substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

           the defendant shall not frequent places whcrc controlled substances are illegally sold, used, distributed, or administered;

           the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any pcrson convicted of a
           felony, unless granted permission to do so by the probation officer;

           the defendant shall permit a probation otticer to visit him or her at any time at homc or elsewhere and shall pennit confiscation of any
           contraband observcd in plain view of thc probation ofticcr;

           the defendant shall noti@ the probation officer within scvcnty-two hours of being arrested or qucstioned by a law enforcement officer;

           the defendant shall not enter into any agreement to act as an infornier or o special agcnt of a law cnforccrnent agmcy without the
           permission of the court; and

           as directed by the probation ofticer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
           or personal history or characteristics and shall pennit the probation otticer to make such notitications and to confirm the defendant's
           compliance with such notification requircment.
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A 0 245B (Rev. 06/05) Sheet 3C - Supen-ised Release (Judgment in a Criminal Case)

Defendant:         JERRY AVILA-CRISANTO                                                               Judgment - Page 4 of 6
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                                        SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with the following additional conditions of supervised release:

-
X        Should the defendant be deported. he/she shall not be allowed to re-enter the United States without the express permission of
         the appropriate governmental authority.

X
-        The defendant shall cooperate in the collection of DNA as directed by the probation officer.

-
X        The mandatory drug testing provisions pursuant to the Violent Crime Control Act are waived. However, the Court orders the
         probation officer to conduct random drug testing not to exceed 104 tests per year.
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A 0 245B (Rev 06/05) Sheet 5 - Criminal Monetary Penalties (Judgment in a Critninal Case)

Defendant:          JERRY AVILA-CRISANTO                                                              Judgment - Page 5 of 6
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                                           CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                            Assessment                            Fine                       Total Restitution

          Totals:                                                 Waived


-         The determination of restitution is deferred until        .       An Amended Jzrdpnent in a Criminal Case ( A 0 245C) will
          be entered after such determination.

-                                                                 restitution) to the following payees in the amount listed
          The defendant must make restitution (including co~n~nunity
          below.
          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. unless
          specified otherwise in the priority order or percentage pa ent column below. However. pursuant to 18 U.S.C. $
          3664(i). all non-federal victims must be pald before the G t e d States.


 Name of Payee                                 Total Loss*                  Restitution Ordered                 Prioritv or Percentage




                            Totals:            -
                                               $


-         Restitution amount ordered pursuant to plea agreement $
 -        The defendant must pay interest on a fine or restitution of more than $2,500, unless the restitution or fine is paid in full
          before the tifieenth day after the date of the jud,gment, pursuant to 18 U.S.C. 8 36 12(Q All of the payment options on Sheet
          6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. $ 3612(g).

 -        The court determined that the defendant does not have the ability to pay interest and it is ordered that:

         -        the interest requirement is waived for the - fine - restitution.
         -        the interest requirement for the - fine       - restitution is modified as follows:




* Findings for the total amount of losses are required under Chapters 109A, 110, 1 1OA, and 1 13A of Title 18 for the offenses committed
on or after September 13, 1994. but before April 23, 1996-
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A 0 245B (Rev 06/05) Sheet 6 - Schedule of Payments (Judgment in a Criminal Case)

Defendant:         JERRY AVILA-CRISANTO                                                                  Judgment - Page 6         o f 6
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                                                   SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

                   Lump sum payment of $200.00             due immediately, balance due
                             -not later than                  , or

                             -in accordance - C, - D. - E or - F below; or
                   Payment to begin immediately (may be combined with -C, -D, or -F below); or
                   Payment in equal          (e.g.. weekly. monthly. quarterly) installments of $          over a period
                   of -(e.g., months or years), to conmence             days (e.g., 30 or 60 days) after the date of this
                   judgment; or
                   Payment in equal              (e.g.. weekly, monthly, quarterly) installtnents of $          over a period of
                               , (e.g., months or years) to commence                     (e-g. 30 or 60 days) after release from
                   imprisonment to a term of supervision; or
                   Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days)
                   after release from imprisonment. The court will set the payment plan based on an assessment of the
                   defendant's ability to pay at that time, or
                   Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise. if t h s judgment imposes imprisonment. payment of criminal monetary
 enalties is due during imprisonment. All crinlinal monetary penalties, except those payments made through the Federal
bureau of Prisons' Inmate Financial Responsibility Progam, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and
Several Amount, and corresponding payee. if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
X
-        The defendant shall forfeit the defendant's interest in the following property to the United States:
        The Court orders that the defendant forfeit to the United States i~nmediatelyand voluntarily any and all assets and
property, or portions thereof, subject to forfeiture. which are in the possession or control of the defendant or the defendant's
nominees.
Payments shall be applied in the following order: ( I ) assessment. (2) restitution principal, (3) restitution interest, (4) fine principal, (5)
fine interest, (6) community restitution, (7) penal ties, and (8) costs, including cost of prosecut ion and court costs.
